Case 1:22-cv-00704-HYJ-RSK   ECF No. 32, PageID.806   Filed 10/19/23   Page 1 of 26




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN

  MATTHEW KOTILA, individually and on        Case No. 1:22-cv-00704-PLM-RSK
  behalf of all others similarly situated,
                                             Hon. Hala Y. Jarbou
        Plaintiff,
                                             Mag. Judge Ray S. Kent
  v.
  CHARTER FINANCIAL PUBLISHING               CLASS ACTION
  NETWORK, INC.,

         Defendant.

  PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
     TO SET ASIDE DEFAULT PURSUANT TO FED. R. CIV. P. 55(C)
Case 1:22-cv-00704-HYJ-RSK     ECF No. 32, PageID.807      Filed 10/19/23   Page 2 of 26




                             QUESTION PRESENTED

       Has Defendant met its burden to set aside the default entered here where

 Defendant was duly served with the lawsuit over a year before Defendant finally

 appeared to defend itself, and in which Plaintiff and his counsel expended significant

 resources, monetary and otherwise, and where Defendant Motion to vacate the

 default offers no credible explanation for the delay and where Defendant fails to

 establish a meritorious defense on the merits or that setting aside the default would

 not prejudice Plaintiff?

              Plaintiff’s Answer: No.




                                           i
Case 1:22-cv-00704-HYJ-RSK   ECF No. 32, PageID.808    Filed 10/19/23   Page 3 of 26




                    MOST CONTROLLING AUTHORITY

    • United Coin Meter Co. v. Seaboard Coastline RR, 705 F.2d 839 (6th
      Cir. 1983)

    • Shepard Claims Serv., Inc. v. Williams Darrah & Assocs., 796 F.2d
      190 (6th Cir. 1986)




                                       ii
Case 1:22-cv-00704-HYJ-RSK                  ECF No. 32, PageID.809                 Filed 10/19/23          Page 4 of 26




                                         TABLE OF CONTENTS

 BACKGROUND .......................................................................................................1

 ARGUMENT .............................................................................................................6

  I.      Defendant Has failed to Show that It Acted With Anything Other Than
          “Reckless Disregard” for These Proceedings .................................................. 7

  II.     Defendant Has Failed to Articulate a Defense to Plaintiffs’ Claim That Has a
          Reasonable Likelihood of Success ................................................................12

  III.    Defendant Fails to Establish That Setting Aside the Default Would Not
          Prejudice Plaintiff ..........................................................................................15

  CONCLUSION ........................................................................................................17




                                                            iii
Case 1:22-cv-00704-HYJ-RSK                ECF No. 32, PageID.810                 Filed 10/19/23         Page 5 of 26




 Cases
 Citizens Bank v. Parnes,
    376 F. App’x 496 (6th Cir. 2010) .......................................................................15
 Compania Interamericana Export-Import, S.A. v. Compania Dominicana de
 Aviacion,
    88 F.3d 948 (11th Cir. 1996) ..........................................................................7, 11
 Controversy Music v. Packard Grill, LLC,
    2011 WL 317736 (E.D. Mich. Feb. 1, 2011)......................................................10
 Dassault Systemes, SA v. Childress,
    663 F.3d 832 (6th Cir. 2011) ............................................................................6, 7
 Gaines v. Nat’l Wildlife Fed’n,
    2023 WL 3186284 (E.D. Mich. May 1, 2023) ...................................................13
 Gottsleben v. Informa Media, Inc.,
    2023 WL 4397226 (W.D. Mich. July 7, 2023)...................................................14
 Horton v. GameStop Corp.,
    380 F. Supp.3d 679 (W.D. Mich. 2018) .............................................................13
 In re Mindel-Stansberry,
    2006 WL 3876500 (Bankr. E.D. Ky. May 11, 2006) .........................................11
 Lee v. Belvoir Media Grp., LLC,
    2023 WL 6304682 (E.D. Mich. Sept. 27, 2023) ................................................13
 Nilsson Robbins, Dalgarn, Berlin, Carson & Wurst v. La. Hydrolec,
    854 F.2d 1538 (9th Cir. 1988) ............................................................................16
 Nock v. Boardroom, Inc.,
    2023 WL 3572857 (E.D. Mich. May 19, 2023) .................................................13
 Petrella v. Metro–Goldwyn–Mayer, Inc.,
    572 U.S. 663 (2014) ............................................................................................15
 Russett v. NTVB Media, Inc.,
    2023 WL 6315998 (E.D. Mich. Sept. 28, 2023) ................................................13
 S. Elec. Health Fund v. Bedrock Servs.,
    146 F. App’x 772 (6th Cir. 2005) .......................................................................10
 SCA Hygiene Prod. Aktiebolag v. First Quality Baby Prod., LLC,
    580 U.S. 328 (2017) ............................................................................................15
 Schreiber v. Mayo Found. for Med. Educ. & Rsch.,
    2023 WL 4512647 (W.D. Mich. July 13, 2023) (Jarbou, J.)..............................13
 Shepard Claims Serv., Inc. v. Williams Darrah & Assocs.,
    796 F.2d 190 (6th Cir. 1986) ..................................................................... 6, 7, 17
 Turker v. Ohio Dep’t of Rehab. & Corr.,
    157 F.3d 453 (6th Cir. 1998) ..............................................................................13



                                                          iv
Case 1:22-cv-00704-HYJ-RSK                  ECF No. 32, PageID.811                 Filed 10/19/23          Page 6 of 26




 United Coin Meter Co. v. Seaboard Coastline RR,
    705 F.2d 839 (6th Cir. 1983) ................................................................... 6, 11, 15
 United States v. Mack,
    295 U.S. 480 (1935) ............................................................................................15
 Victoria’s Secret Stores v. Artco Equip. Co.,
    194 F. Supp. 2d 704 (S.D. Ohio 2002) ...............................................................11
 Waifersong, Ltd. Inc. v. Classic Music Vending,
    976 F.2d 290 (6th Cir. 1992) ................................................................................7
 Wehrman v. Conklin,
    155 U.S. 314 (1894) ............................................................................................15
 Williams v. Meyer,
    346 F.3d 607 (6th Cir. 2003) ..............................................................................12

 Other Authorities
 Mich. Executive Order 2020-58 ..............................................................................14
 Mich. Supreme Court Administrative Order 2020-3 ...............................................14

 Rules
 Fed. R. Civ. P. 12(a)(1)(A) ........................................................................................2
 Fed. R. Civ. P. 55(c)...................................................................................................6




                                                            v
Case 1:22-cv-00704-HYJ-RSK      ECF No. 32, PageID.812       Filed 10/19/23   Page 7 of 26




        Plaintiff Matthew Kotila, individually and on behalf of all others similarly

 situated, respectfully submits this response in opposition to the motion to set aside

 the Clerk’s entry of default (ECF No. 29 (the “Motion”)) filed by Defendant Charter

 Financial Publishing Network, Inc. (“Defendant”).

                                   BACKGROUND

        On August 3, 2022, Plaintiff initiated this action by filing the Class Action

 Complaint against Defendant (ECF No. 1 (the “Complaint”).) The Complaint alleges

 that Plaintiff and all members of the proposed class purchased subscriptions to

 Financial Advisor magazine from Defendant, and that Defendant, without providing

 notice to or obtaining consent from Plaintiff or any other proposed class member,

 disclosed Plaintiff’s and all proposed class members’ subscription-purchase records

 to third parties during the relevant time period, i.e., between April 25, 2016, and July

 30, 2016.

        On August 4, 2022, the Clerk of Court issued a Summons in a Civil Action as

  to Defendant. (ECF No. 4.)

        On August 11, 2022, service of the Complaint and the Summons was

  effectuated on Defendant at the address of Defendant’s registered agent, as specified

  by Defendant in its corporate filings. (See ECF No. 5, PageID.534; Declaration of

  E. Powell Miller (“Miller Decl.”) ¶ 4 (Declaration attached hereto as Exhibit A.)




                                            1
Case 1:22-cv-00704-HYJ-RSK      ECF No. 32, PageID.813       Filed 10/19/23     Page 8 of 26




       Defendant failed to answer or respond to the Complaint or otherwise defend

 the action within twenty-one days from the date of service of the Summons and

 Complaint, as required under Federal Rule of Civil Procedure 12(a)(1)(A).

       Thus, on September 28, 2022, Plaintiff filed an application for the Clerk of

 Court to enter a default against Defendant pursuant to Federal Rule of Civil

 Procedure 55(a). (ECF No. 7.) Plaintiff served a copy of the application for entry of

 clerk’s default on Defendant at the address of Defendant’s registered agent, as

 specified by Defendant in its corporate filings. Miller Decl. ¶ 6.

       On October 19, 2022, the Clerk of Court issued an Entry of Default against

 Defendant pursuant to Rule 55(a). (ECF No. 12.) Plaintiff served a copy of the

 Clerk’s Entry of Default on Defendant at the address of Defendant’s registered

 agent, as specified by Defendant in its corporate filings. Miller Decl. ¶ 8.

       On December 2, 2022, Plaintiff filed a motion for class certification and for

 leave to take discovery pursuant to Federal Rule of Civil Procedure 55(b)(2). (ECF

 No. 13.) Plaintiff served a copy of the motion for class certification and for leave to

 take discovery on Defendant at the address of Defendant’s registered agent, as

 specified by Defendant in its corporate filings. Miller Decl. ¶ 11.

       On May 12, 2023, the Court issued an Opinion and Order conditionally

 granting Plaintiff’s motion for class certification, but directing Plaintiff to provide a

 more specific proposed class definition. (ECF Nos. 14-15.) Plaintiff served a copy



                                            2
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.814     Filed 10/19/23   Page 9 of 26




 of the Court’s order conditionally certifying the class on Defendant at the address of

 Defendant’s registered agent, as specified by Defendant in its corporate filings.

 Miller Decl. ¶ 13.

       On May 19, 2023, Plaintiff filed a supplement to his motion for class

 certification and for leave to take discovery that provided a more specific class

 definition. (ECF No. 16.) Plaintiff served a copy of the supplement to the motion for

 class certification on Defendant at the address of Defendant’s registered agent, as

 specified by Defendant in its corporate filings. Miller Decl. ¶ 15.

       On June 5, 2023, the Court issued an Order granting certification of the class

 and authorizing Plaintiff to take discovery in order to identify the class members for

 purposes of calculating damages. (ECF No. 17.) The Court certified the following

 class pursuant to Federal Rule of Civil Procedure 23(b)(3):

              Plaintiff, as well as every other resident of Michigan who
              subscribed to any of Defendant’s publications before July
              31, 2016, and whose name together with the name of the
              publication(s) to which they subscribed were disclosed by
              Defendant (or an employee or agent of Defendant acting
              on Defendant’s behalf) at any time between April 25,
              2016, and July 30, 2016, to any third party without the
              consent of the subscriber.

 (Id. at 1-2.) Plaintiff served a copy of the Court’s order certifying the class on

 Defendant at the address of Defendant’s registered agent, as specified by Defendant

 in its corporate filings. Miller Decl. ¶ 17.




                                                3
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.815       Filed 10/19/23   Page 10 of
                                          26



       Following the Court’s June 5, 2023 Order, Plaintiff’s counsel served 39

 notices of subpoena pursuant to Federal Rule of Civil Procedure 45, directed to

 various third party data companies, on Defendant at the address of Defendant’s

 registered agent, as specified by Defendant in its corporate filings. Miller Decl. ¶ 18.

 After serving Defendant with the notices of subpoena on or about July 14, 2023,

 Plaintiff’s counsel then promptly served these subpoenas on each of the 39 third

 party data companies to which they were directed. Id. ¶ 19. Plaintiff’s counsel

 expended $2,602.41 in out-of-pocket expenses in connection with effectuating

 service of the 39 subpoenas. Miller Decl. ¶ 20.

       On July 17, 2023, Plaintiff received a response to his subpoena to Data

 Services, Inc. (“DSI”) that included a subscriber list, transmitted by Defendant to

 DSI during the relevant time period, with the names and addresses of over 3,000

 persons in Michigan. Miller Decl. ¶ 21. On August 15, 2023, Plaintiff received a

 response to his subpoenas to BPA Worldwide, Inc. (“BPA”) and Alliance for

 Audited Media (“AAM”) that included a subscriber list, transmitted by Defendant

 to BPA and/or AAM during the relevant time period, with the names and addresses

 of over 3,000 persons in Michigan. Miller Decl. ¶ 22. Together, the lists provided by

 DSI and BPA/AAM contain 3,416 unique names and addresses of persons in

 Michigan, who, together with Plaintiff, comprise the certified class in this case. (See

 ECF No. 17, PageID.658-59 (certifying class comprised of “Plaintiff, as well as



                                            4
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.816       Filed 10/19/23    Page 11 of
                                          26



 every other resident of Michigan who subscribed to any of Defendant’s publications

 before July 31, 2016, and whose name together with the name of the publication(s)

 to which they subscribed were disclosed by Defendant (or an employee or agent of

 Defendant acting on Defendant’s behalf) at any time between April 25, 2016, and

 July 30, 2016, to any third party without the consent of the subscriber”) & ECF No.

 28, PageID.752 (brief filed by Plaintiff quantifying number of class members in

 addition to Plaintiff.)

        In early August of 2023, Plaintiff agreed to retain Kroll to serve as Plaintiff’s

 proposed claims administrator in this matter. Miller Decl. ¶ 24. Throughout the

 month of August, Plaintiff’s counsel worked with Kroll to devise a multi-part notice

 plan. Id.; see also PageID.746-47. First, Kroll will perform skip traces on any

 returned undeliverable notices and those notices will be remailed to any new found

 addresses; further, Kroll will establish a customized case website that shall contain

 additional comprehensive information about this class action, as well as access to

 important Court documents, upcoming deadlines, and the ability to file claim forms

 online (if needed for any unidentified class members), or an updated postal address.

 Id. Plaintiff’s counsel agreed to retain Kroll, at a cost of $19,915.00, to perform these

 services in this matter. Miller Decl. ¶ 25.

        On August 16, 2023, Plaintiff filed a motion for Court approval of Plaintiff’s

 proposed notice plan to provide notice to the certified class members, as well as for



                                               5
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.817       Filed 10/19/23   Page 12 of
                                          26



 a default judgment against Defendant in an amount to be determined following the

 notice and opt-out period. (ECF No. 28.) Plaintiff served a copy of the motion for

 approval of the proposed notice plan on Defendant at the address of Defendant’s

 registered agent, as specified by Defendant in its corporate filings. Miller Decl. ¶ 27.

       On September 21, 2023, Defendant filed the instant Motion. (ECF No. 29.)

                                     ARGUMENT

       Defendant does not contest that it was properly served. See ECF No. 29. Thus,

 the clerk’s default may be set aside only upon a showing of good cause. See Fed. R.

 Civ. P. 55(c). In other words, “Rule 55(c) leaves to the discretion of the trial judge

 the decision whether to set aside an entry of default.” Shepard Claims Serv., Inc. v.

 Williams Darrah & Assocs., 796 F.2d 190, 193 (6th Cir. 1986). In considering

 whether default should be set aside under Rule 55(c), district courts must apply the

 following factors:

              i.      Whether culpable conduct of the defendant led to
                      the default;

              ii.     Whether the defendant has a meritorious defense; and

              iii.    Whether the plaintiff will be prejudiced.

 United Coin Meter Co. v. Seaboard Coastline RR., 705 F.2d 839, 845 (6th Cir.

 1983); see also Dassault Systemes, SA v. Childress, 663 F.3d 832, 838‒39 (6th Cir.

 2011). In this case, each of these three factors confirms that Defendant has not

 demonstrated the “good cause” necessary to set aside the default.


                                            6
Case 1:22-cv-00704-HYJ-RSK        ECF No. 32, PageID.818       Filed 10/19/23   Page 13 of
                                           26



    I.      Defendant Has Failed to Show that It Acted With Anything Other
            Than “Reckless Disregard” for These Proceedings

         The first factor – which considers whether culpable conduct of Defendant led

 to the default, United Coin Meter, 705 F.2d at 845 – weighs against setting aside the

 default because Defendant has not demonstrated that its failure to respond to this

 lawsuit for over 13 months after being served with the Complaint was anything other

 than willful.

         “When asked to set aside an entry of default, a court considers the first factor,

 defendant’s culpability, in the general context of determining whether a petitioner is

 deserving of equitable relief.” Waifersong, Ltd. Inc. v. Classic Music Vending, 976

 F.2d 290, 292 (6th Cir. 1992). A defendant’s conduct leading to a default is willful

 if the defendant “display[s] either an intent to thwart judicial proceedings or a

 reckless disregard for the effect of its conduct on those proceedings.” See Dassault,

 663 F.3d at 841 (citing Shepard, 796 F.2d at 194). “[I]f a party willfully defaults by

 displaying either intentional or reckless disregard for the judicial proceedings, the

 court need make no other finding in denying relief.” Compania Interamericana

 Export-Import, S.A. v. Compania Dominicana de Aviacion, 88 F.3d 948, 951‒52

 (11th Cir. 1996) (citing Shepard, 796 F.2d at 194‒95) (emphasis added).

         Here, Defendant acted with “reckless disregard for the effect of its conduct”

 – i.e., its failure to respond to the Complaint or otherwise defend itself – as the

 Motion and accompanying Stroller Declaration (ECF No. 29-2) demonstrate. In


                                             7
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.819      Filed 10/19/23   Page 14 of
                                          26



 particular, Defendant has submitted no evidence showing when Cogency, its

 registered agent, provided Defendant with a copy of the Complaint, which was duly

 served on August 11, 2022; a copy of Plaintiff’s application for the Clerk of Court

 to enter a default, which was duly served on or about September 28, 2022; a copy of

 the Clerk’s Entry of Default against Defendant, which was duly served on or about

 October 19, 2022; a copy of Plaintiff’s motion for class certification and for leave to

 take discovery, which was duly served on or about December 2, 2022; a copy of the

 Court’s Opinion and Order conditionally granting Plaintiff’s motion for class

 certification, which were duly served on or about May 12, 2023; or a copy of the

 Court’s Order granting certification of the class and authorizing Plaintiff to take

 discovery, which was duly served on or about June 5, 2023. Instead, the Motion and

 accompanying Stroller Declaration focus entirely on Stroller’s receipt of two

 recently served documents: (1) Plaintiff’s notice of subpoena to ALM, which was

 served on Defendant on or about July 14, 2023 and which Stroller says was provided

 to him on both July 23 and July 31, 2023 by two employees (one who received the

 document from the process server in the office, and the other who received an e-mail

 from Cogency containing the same document); and (2) Plaintiff’s brief in support of

 his motion for approval of notice plan and for entry of default judgment that was

 served on Defendant on or about August 16, 2023 and which Stroller says was




                                           8
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.820       Filed 10/19/23   Page 15 of
                                          26



 provided to him by an employee on August 21, 2023, after the employee had

 received the document from Cogency via e-mail.

       Defendant’s failure to submit any evidence to establish when Defendant – i.e.,

 anyone at the company, not just Stroller – received copies of the Complaint and the

 other earlier-filed documents in this case is telling. Even the limited information that

 Stroller does provide in his declaration makes clear that Cogency sent an e-mail to

 Defendant each time Cogency was served with a document in this case in its capacity

 as Defendant’s registered agent, and that these e-mails contained copies of the

 documents that had been served. See, e.g., Stroller Decl. ¶¶ 11-12 (indicating that

 employee had received emails from Cogency containing copies of the documents

 served). And indeed, as explained on Cogency’s website, whenever Cogency is

 served with a document in its capacity as registered agent for one of its company

 clients, Cogency has a standard practice of “immediate[ly]” providing notification

 of its receipt of the document to that company, including by “e-mail, via a secured

 link and password-protected access.” See Miller Decl. ¶ 4 & Ex. 1 thereto, at 2

 (printout of Cogency website accessible at https://www.cogencyglobal.com/

 national-registered-agents). Thus, Cogency would have e-mailed copies of the

 Complaint and the various other earlier-filed documents in the case to Defendant

 immediately upon being served with them, just as it did with the notice of subpoena

 to ALM and Plaintiff’s motion for default judgment that it e-mailed to Defendant on



                                            9
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.821      Filed 10/19/23   Page 16 of
                                          26



 July 31, 2023 and August 21, 2023, respectively. And while Defendant repeatedly

 cites to its employees’ recent return to the office following the pandemic to justify

 its over year-long failure to defend this case, Defendant does not (and obviously

 cannot) claim that its employees did not have access to their e-mail while working

 remotely during that time.

       Against this backdrop, Defendant’s failure to respond to the Complaint or

 otherwise defend this action for over 13 months – between August 11, 2022 (when

 the Complaint was served) and September 19, 2023 (when Defendant first appeared

 in this case) – is a sure sign that Defendant chose to simply ignore the documents,

 in “reckless disregard” for these proceedings. See S. Elec. Health Fund v. Bedrock

 Servs., 146 F. App’x 772, 777 (6th Cir. 2005) (where a party ignores legal

 documents, that conduct is viewed as a reckless disregard for the effect of the party’s

 conduct on the proceedings). But at the very least, Defendant has submitted no

 evidence to establish that it did not receive the Complaint and other early-filed

 documents in this case from Cogency – evidence which would, at a bare minimum,

 be a necessary component to Defendant establishing that it did not act with “reckless

 disregard” for these proceedings. See, e.g., Controversy Music v. Packard Grill,

 LLC, 2011 WL 317736, at *3 (E.D. Mich. Feb. 1, 2011) (“[T]he Defendants are

 culpable for the default in this case because they failed to answer Plaintiffs’

 Complaint. … A default was entered in this case due to Defendants’ inaction. They



                                           10
Case 1:22-cv-00704-HYJ-RSK         ECF No. 32, PageID.822        Filed 10/19/23    Page 17 of
                                            26



 are therefore culpable inasmuch as they ignored the clear language of the

 Summons.”); In re Mindel-Stansberry, 2006 WL 3876500, at *4 (Bankr. E.D. Ky.

 May 11, 2006), (finding the defendant culpable and dismissing the argument that the

 company never received notice from its registered agent).1

        Though the Sixth Circuit generally favors trials on the merits, such policy

 “does not mandate that the Court conduct a trial on the merits when a party shows

 little initiative in litigating the claims. If it did, there would be no reason for the Sixth

 Circuit’s United Coin Meter test.” Victoria’s Secret Stores v. Artco Equip. Co., 194

 F. Supp. 2d 704, 717 (S.D. Ohio 2002).

        Accordingly, the first factor weighs heavily against setting aside the default,

 and the Court need go no further in the United Coin Meter analysis to deny the

 Motion. See Compania, 88 F.3d at 951-952 (“[I]f a party willfully defaults by

 1
         Instead of presenting evidence to show that Defendant was not provided
 copies of the Complaint and other early-filed documents in the case, Stroller
 summarily states in his declaration that “I did not become generally aware of the
 existence of this lawsuit until on or about July 23, 2023[.]” Stroller Decl. ¶ 9. But
 again, the question is not when Stroller became aware of the case, but rather when
 Cogency, the registered agent of the Defendant, was duly served – which Defendant
 does not dispute occurred on August 11, 2022. See ECF No. 5, PageID.534 &
 Stroller Decl. ¶ 16. Even if the question of when Defendant directly (as opposed to
 its agent Cogency) learned of “the existence of this case” is relevant to the
 willfulness factor under the United Coin Meter analysis, the question is still not when
 Stroller became aware of the case, but rather when the Defendant (i.e., any of its
 employees) became aware of the case. And yet, Stroller’s declaration does not speak
 to this question. It is also entirely unclear what it means for Stroller to have “become
 generally aware of the existence of this lawsuit.” Stroller Decl. ¶ 9 (emphasis
 added).


                                              11
Case 1:22-cv-00704-HYJ-RSK         ECF No. 32, PageID.823         Filed 10/19/23     Page 18 of
                                            26



 displaying either intentional or reckless disregard for the judicial proceedings, the

 court need make no other finding in denying relief.”).

    II.      Defendant Has Failed to Articulate a Defense to Plaintiff’s Claim That
             Has a Reasonable Likelihood of Success
          The second factor – which considers whether Defendant has a meritorious

 defense to the Plaintiff’s claim, United Coin Meter, 705 F.2d at 845 – also weighs

 against setting aside the default because each of the defenses cited in the Motion

 fails as a matter of law.

          A meritorious defense for purposes of this factor is one that is “good at law.”

 Williams v. Meyer, 346 F.3d 607, 614 (6th Cir. 2003).

          Defendant says that it would have three potentially “meritorious defenses” to

 this case if the clerk’s default is set aside: (1) Plaintiff fails to state a claim for relief;

 (2) Plaintiff’s claim is time-barred because this case was filed more than six-years

 after the effective date of the amended version of Michigan’s PPPA; and (3) laches,

 based on Plaintiff’s “undue delay” in filing suit. PageID.777. None of these defenses

 is “good at law.”

          First, Defendant’s “failure to state a claim upon which relief can be granted”

 defense has no reasonable chance of success because the same material factual

 allegations underlying Plaintiff’s claim in this case have been found adequate to state

 claims for relief in numerous other PPPA cases recently filed in Michigan’s federal

 courts. See, e.g., Schreiber v. Mayo Found. for Med. Educ. & Rsch., 2023 WL


                                               12
Case 1:22-cv-00704-HYJ-RSK      ECF No. 32, PageID.824       Filed 10/19/23   Page 19 of
                                         26



 4512647, at *4 (W.D. Mich. July 13, 2023) (Jarbou, J.) (finding that the plaintiff’s

 allegations, which are materially the same as the allegations in this case, “are

 sufficient to state a plausible claim under the PPPA”); Lee v. Belvoir Media Grp.,

 LLC, 2023 WL 6304682, at *4 (E.D. Mich. Sept. 27, 2023) (same result); Nock v.

 Boardroom, Inc., 2023 WL 3572857, at *4 (E.D. Mich. May 19, 2023) (same);

 Russett v. NTVB Media, Inc., 2023 WL 6315998, at *3 (E.D. Mich. Sept. 28, 2023)

 (same); Gaines v. Nat’l Wildlife Fed’n, 2023 WL 3186284, at *4 (E.D. Mich. May

 1, 2023) (same); Horton v. GameStop Corp., 380 F. Supp.3d 679, 682 (W.D. Mich.

 2018). And the question of whether the Complaint’s allegations adequately state a

 claim for relief is a question of law.2 Turker v. Ohio Dep’t of Rehab. & Corr., 157

 F.3d 453, 456 (6th Cir. 1998) (whether a complaint states a claim for relief “is a

 question of law”). Thus, this defense is not “good at law” for the same reason it was

 not “good at law” in the numerous decisions cited above, each of which was based

 upon the same material facts that Plaintiff alleges here.

       Second, Defendant contends that it has a statute of limitations defense that is

 “good at law” because “the last day to bring claims based on the old version of the



 2
        Indeed, Defendant’s assertion that Plaintiff did not purchase a subscription to
 Financial Advisor prior to or during the relevant time period is irrelevant to the
 “failure to state a claim for relief” defense that Defendant claims is potentially
 meritorious. The Complaint plainly alleges that Plaintiff did purchase a subscription
 prior to or during the relevant time period, and any attempt to disprove those
 allegations cannot be resolved on a motion to dismiss for failure to state a claim.


                                           13
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.825       Filed 10/19/23   Page 20 of
                                          26



 PPPA lapsed on July 31, 2022” and “the Complaint … was not filed until August 3,

 2022.” (PageID.777; see also id. (also noting that the “Michigan Supreme Court []

 abrogated the continuing wrongs doctrine in 2004”).) This defense also fails as a

 matter of law. Plaintiff’s claim is timely as a matter of law, even without application

 of a “continuing wrongs doctrine,” because the Michigan Supreme Court and the

 Governor of Michigan both issued orders tolling the statute of limitations for all civil

 actions by 102 days during the COVID-19 pandemic. See Mich. Executive Order

 2020-58; Mich. Supreme Court Administrative Order 2020-3. As this Court

 explained in another PPPA case, “the Michigan Supreme Court issued

 administrative orders tolling all Michigan statutes of limitations for 102 days during

 the COVID-19 pandemic in 2020.” Gottsleben v. Informa Media, Inc., 2023 WL

 4397226, at *3 (W.D. Mich. July 7, 2023). Thus, the relevant time period for

 purposes of this case is April 25, 2016 through July 30, 2016. Because Plaintiff’s

 claim is timely as a matter of law, the statute of limitations defense that Defendant

 hopes to raise is not “good at law” for purposes of this factor.

       Third, Defendant speculates that, “[t]o the extent Plaintiff … unduly delayed

 in bringing [his] claim[] against [Defendant] for the conduct described in the

 Complaint, [his] claim[] [is] barred by the equitable doctrine of laches.”

 (PageID.777.) This defense would be frivolous. Because Plaintiff filed suit within

 the applicable statutory period, as previously discussed, any laches defense raised



                                           14
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.826       Filed 10/19/23    Page 21 of
                                          26



 by Defendant would fail as a matter of law. See United States v. Mack, 295 U.S. 480,

 489 (1935) (“Laches within the term of the statute of limitations is no defense at

 law”); Wehrman v. Conklin, 155 U.S. 314, 326 (1894) (same); Petrella v. Metro–

 Goldwyn–Mayer, Inc., 572 U.S. 663, 679 (2014) (same); SCA Hygiene Prod.

 Aktiebolag v. First Quality Baby Prod., LLC, 580 U.S. 328, 331 (2017) (same).3

        Accordingly, the second factor also weighs heavily against setting aside the

 default.

     III.   Defendant Fails to Establish That Setting Aside the Default Would Not
            Prejudice Plaintiff
        The third factor – which considers whether setting aside the default would

 prejudice Plaintiff, see United Coin Meter, 705 F.2d at 845 – also weighs against

 setting aside the default because Plaintiff has invested significant resources over the

 past year addressing Defendant’s default.

        According to Defendant, Plaintiff would suffer no prejudice if the default

 entered against it is set aside, claiming that “there is no danger that any evidence will

 be lost” and that “there will be no increase in discovery difficulties” going forward

 in the litigation. (Mot at 5-6, PageID.774-75.) But Defendant fails to recognize that,


 3
        Additionally, Defendant offers no evidence in support of its proposed laches
 defense, and has thus failed to establish that the defense has any possibility of being
 “good at law,” even if it did not fail as a matter of law for the reason explained above.
 See Citizens Bank v. Parnes, 376 F. App’x 496, 505 (6th Cir. 2010) (in considering
 this factor, courts are not obligated to merely accept a defendant’s “general assertion
 of [a defense] without even a hint of suggestion of supporting evidence”).


                                            15
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.827       Filed 10/19/23    Page 22 of
                                          26



 as it relates to this factor, “the most common type of prejudice is the additional

 expense caused by the delay[.]” Nilsson Robbins, Dalgarn, Berlin, Carson & Wurst

 v. La. Hydrolec, 854 F.2d 1538, 1546 (9th Cir. 1988).

       And in this case, Plaintiff and his counsel have already expended significant

 resources, monetary and otherwise, as a direct result of Defendant’s failure to appear

 to defend itself in this case for over a year. Specifically, following Defendant’s

 default, Plaintiff’s counsel expended $2,602.41 in out-of-pocket expenses to

 effectuate service of 39 subpoenas to third party data companies in order to assemble

 a class list, and has agreed to retain Kroll to the tune of $19,915.00 in fees and costs

 to disseminate notice to the class and otherwise administer this class action. Miller

 Decl. ¶¶ 20, 25. All told, Plaintiff’s counsel will have expended $22,517.41 in costs

 as a result of Defendant’s default. Id. ¶ 28. If the default were set aside, all of these

 costs – as well as all of the extensive work performed by Plaintiff’s counsel in

 obtaining an order certifying the class, preparing 39 subpoenas, and preparing

 briefing in support of Plaintiff’s motion for default judgment and for the

 dissemination of notice to the class – would have been expended for nothing, causing

 significant prejudice to Plaintiff and his counsel. See, e.g., Nilsson, 854 F.2d at 1546.

 The Motion does not even attempt to explain why the payment of such expenses,

 and counsel’s performance of over a year’s worth of legal work addressing




                                            16
Case 1:22-cv-00704-HYJ-RSK      ECF No. 32, PageID.828      Filed 10/19/23   Page 23 of
                                         26



 Defendant’s default, would not unduly prejudice Plaintiff and his counsel if the

 default were set aside.

       Accordingly, the third and final factor also weighs heavily against setting

 aside the default.

                                   CONCLUSION

       Defendant was duly served with this lawsuit over a year before it finally

 appeared to defend itself. During the lengthy period in which Defendant chose to

 simply ignore these proceedings, a clerk’s default was properly entered against

 Defendant and Plaintiff and his counsel expended significant resources, monetary

 and otherwise, addressing the default for the benefit of the now-certified class.

       Defendant’s eleventh-hour Motion to vacate the default offers no “credible

 explanation for the delay that does not exhibit disregard for the judicial

 proceedings,” so the default must stand, see Shepard , 796 F.2d at 195, especially

 given that Defendant has also failed to establish a meritorious defense on the merits

 or that setting aside the default would not prejudice Plaintiff. Simply put: Defendant

 has not met its burden under Rule 55(c), and the Motion should be denied.

 Dated: October 19, 2023                Respectfully submitted,

                                        /s/ E. Powell Miller
                                        E. Powell Miller (P39487)
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Drive, Suite 300
                                        Rochester, MI 48307


                                          17
Case 1:22-cv-00704-HYJ-RSK   ECF No. 32, PageID.829   Filed 10/19/23   Page 24 of
                                      26



                                    Tel: 248-841-2200
                                    epm@millerlawpc.com

                                    Joseph I. Marchese
                                    Philip L. Fraietta
                                    BURSOR & FISHER, P.A.
                                    888 Seventh Avenue
                                    New York, New York 10019
                                    Tel: 646.837.7150
                                    Fax: 212.989.9163
                                    jmarchese@bursor.com
                                    pfraietta@bursor.com

                                    Frank S. Hedin
                                    David W. Hall
                                    HEDIN HALL LLP
                                    1395 Brickell Avenue, Suite 1140
                                    Miami, Florida 33131
                                    Tel: 305.357.2107
                                    Fax: 305.200.8801
                                    fhedin@hedinhall.com
                                    dhall@hedinhall.com

                                    Class Counsel




                                      18
Case 1:22-cv-00704-HYJ-RSK      ECF No. 32, PageID.830      Filed 10/19/23     Page 25 of
                                         26



                 CERTIFICATE REGARDING WORD COUNT

       Plaintiff Matthew Kotila, in compliance with W.D. Mich. LCivR 7.2(b)(i)-(ii)

 & 7.3(b)(i)-(ii), used 4,297 words in Plaintiff’s foregoing brief. Microsoft Word for

 Office 365 Business version 1910 is the word processing software used to generate

 the word count in the attached brief.

 Dated: October 19, 2023                 Respectfully Submitted,

                                         /s/ E. Powell Miller
                                         E. Powell Miller (P39487)
                                         THE MILLER LAW FIRM, P.C.
                                         950 W. University Drive, Suite 300
                                         Rochester, MI 48307
                                         Tel: 248-841-2200
                                         epm@millerlawpc.com

                                         Counsel for Plaintiff and the Class




                                           19
Case 1:22-cv-00704-HYJ-RSK       ECF No. 32, PageID.831       Filed 10/19/23   Page 26 of
                                          26



                           CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on October 19, 2023, a true and correct

 copy of the foregoing was served by electronic service via the Court’s CM/ECF

 service on all counsel or parties of record on the service list in the above-entitled

 action.

                                         /s/ E. Powell Miller
                                         E. Powell Miller
